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  EXHIBIT A
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                                                                                                       US009335825B2


(12) United States Patent                                                             (10) Patent No.:                  US 9,335,825 B2
       Rautiainen et al.                                                              (45) Date of Patent:                        May 10, 2016
(54)    GESTURE CONTROL                                                           2007. O130547 A1*       6, 2007 Boilot .......................... T15,863
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(73) Assignee: Nokia Technologies Oy, Espoo (FI)                                             FOREIGN PATENT DOCUMENTS
(*) Notice:           Subject to any disclaimer, the term of this                CA               2495 O14 A1         2, 2004
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                      U.S.C. 154(b) by 762 days.                                                            (Continued)
(21) Appl. No.: 12/693,667                                                                         OTHER PUBLICATIONS

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(65)                 Prior Publication Data                                      Instrumentation and Measurement Technology Conference, Budap
        US 2011 FO181509 A1     Jul. 28, 2011                                    est Hunrary, May 21-23, 2001, pp. 1942-1946.
                                                                                                            (Continued)
(51) Int. Cl.
        G06F 3/0                       (2006.01)                                 Primary Examiner — Joseph Feild
(52) U.S. Cl.                                                                    Assistant Examiner — Saifeldin Elnafia
        CPC ................ G06F 3/017 (2013.01); G06F 3/011                    (74) Attorney, Agent, or Firm — Harrington & Smith
                         (2013.01); G06F 3/012 (2013.01)
(58) Field of Classification Search                                              (57)                      ABSTRACT
        CPC .......... G06F 3/017: G06F 3/011; G06F 3/012                        An apparatus including: a radio transmitter configured to
        USPC .................................................. 34.5/156. 158
        See application file for complete search history.                        transmit radio signals that are at least partially reflected by a
                                                                                 human body; one or more radio receivers configured to
(56)                      References Cited                                       receive the transmitted radio signals after having been at least
                                                                                 partially reflected by a human body of a user; a gesture detec
                  U.S. PATENT DOCUMENTS                                          tor configured to detect a predetermined time-varying modu
                                                                                 lation that is present in the received radio signals compared to
       6,307,952 B1 * 10/2001 Dietz ............................ 382/107         the transmitted radio signals; and a controller configured to
       6,313,825 B1 * 1 1/2001 Gilbert ...                       345,156         interpret the predetermined time-varying modulation as a
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                                   2




                            GESTURE
                             DETECT
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                                 FIG. 1




                                 FIG. 2
                                              12

    3O
         N-38 In
              PARAMETER-
              'TSATION
                                            RADAR l
                                          DETECTION
                                                         36



                         32                        34
                                 FIG. 3
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                                                  FIG. 5

                52

                54
                                 RECEIVE

                56      DETECT PREDETERMINED
                       TIME WARYING MODULATION
                58
                          CHANGE OPERATION

                                 FIG. 6
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                               1.                                                                         2
                  GESTURE CONTROL                                           FIG. 1 schematically illustrates an apparatus that uses radar
                                                                         to detect gestures;
               FIELD OF THE INVENTION                                       FIG. 2 illustrates a suitable platform for providing a gesture
                                                                         detector and a controller using software;
  Embodiments of the present invention relate to controlling                FIG. 3 schematically illustrates a gesture recognition
an apparatus using gestures.                                             engine;
                                                                            FIG. 4 schematically illustrates an exterior of an apparatus;
          BACKGROUND TO THE INVENTION                                       FIG. 5 schematically illustrates an alternative embodiment
                                                                         of the apparatus; and
  It would be desirable to control an apparatus without hav         10      FIG. 6 schematically illustrates a method.
ing to touch it and without having to use a remote control
device.                                                                          DETAILED DESCRIPTION OF VARIOUS
                                                                                  EMBODIMENTS OF THE INVENTION
           BRIEF DESCRIPTION OF VARIOUS
          EMBODIMENTS OF THE INVENTION                              15      The Figures illustrate an apparatus 2 comprising: at least
                                                                         one radio transmitter 4 configured to transmit radio signals 6
   According to various, but not necessarily all, embodiments            that are at least partially reflected by a human body 8: one or
of the invention there is provided an apparatus comprising:              more radio receivers 10 configured to receive the transmitted
one or more radio transmitters configured to transmit radio              radio signals 6' after having been at least partially reflected by
signals that are at least partially reflected by a human body;           a human body 8 of a user, a gesture detector 12 configured to
one or more radio receivers configured to receive the trans              detect a predetermined time-varying modulation that is
mitted radio signals after having been at least partially                present in the received radio signals 6' compared to the trans
reflected by a human body of a user, a gesture detector con              mitted radio signals 6; and a controller 14 configured to
figured to detect a predetermined time-varying modulation                interpret the predetermined time-varying modulation as a
that is present in the received radio signals compared to the       25   predetermined user input command and change the operation
transmitted radio signals; and a controller configured to inter          of the apparatus 2.
pret the predetermined time-varying modulation as a prede                   The apparatus 2 is configured to use radar technology to
termined user input command and change the operation of the              detect a gesture, such as a hand gesture, and to interpret the
apparatus.                                                               detected gesture as a user input command. The user is there
   According to various, but not necessarily all, embodiments       30   fore able to control the operation of the apparatus 2 without
of the invention there is provided a gesture recognition engine          touching the apparatus 2.
for a gesture controlled user interface comprising: a radio                 Typically the radio waves would be microwaves or milli
receiver for receiving radio signals after having been at least          meter waves which are capable of penetrating clothing etc. A
partially reflected by a human body gesture; a gesture detec             user is therefore able to control the operation of the apparatus
tor configured to detect a predetermined time-varying modu          35   2 using a gesture even when the apparatus is stowed out of
lation that is present in the received radio signals compared to         sight in a pocket or handbag, for example.
a radio signals before reflection; and an interface for provid              The gesture is typically a non-touching gesture that is a
ing the detected predetermined time-varying modulation as                gesture that does not touch the apparatus 2 itself but which
an output.                                                               involves the movement of all or part of a body. A gesture may
   According to various, but not necessarily all, embodiments       40   be a hand gesture which involves the movement of all or part
of the invention there is provided a method comprising: trans            of the hand.
mitting radio signals that are at least partially reflected by a            Referring to FIG. 1, there is schematically illustrated an
human hand; receiving the transmitted radio signals after                apparatus 2 comprising: a radio transmitter 4, a radio receiver
having been at least partially reflected by a gesturing human            10; a gesture detector 12; and a controller 14.
hand; detecting a predetermined time-varying modulation,            45      The apparatus 2 may be any apparatus that it is desirable to
characterizing the gesture, that is present in the received radio        control by user input and in particular non-touching gestures.
signals compared to the transmitted radio signals; and chang             In some but not necessarily all embodiments, the apparatus 2
ing the operation of an apparatus in dependence upon the                 may be a hand portable apparatus 2 that is sized to fit in the
predetermined time-varying modulation.                                   palm of the hand or a jacket pocket. It may, for example, be a
   According to various, but not necessarily all, embodiments       50   personal electronic device Such as a music player, a video
of the invention there is provided an apparatus comprising: a            player, a mobile cellular telephone, an eBook reader etc.
radio transmitter configured to transmit radio signals that are             The radio transmitter 4 is configured to transmit radio
at least partially reflected by a human body; one or more radio          signals 6 that are at least partially reflected by a human body
receivers configured to receive the transmitted radio signals            8. The radio signals may, for example, be microwave signals.
after having been at least partially reflected by a human body      55   The apparatus may, in Some embodiments, be configured to
of a user, a gesture detector configured to detect a Doppler             additionally use the radio transmitter 4 for wireless data trans
frequency shift over time that is present in the received radio          mission in addition to the described radar gesture detection.
signals compared to the transmitted radio signals; and a con                The radio receiver 10 is configured to receive radio signals
troller configured to interpret the Doppler frequency shift              6" that have been transmitted by the radio transmitter 4 and at
over time as a predetermined user input command and change          60   least partially reflected by, for example, a hand 8 of a user
the operation of the apparatus.                                          when it is making a non-touching gesture. The radio receiver
                                                                         10 in this example is fixed relative to the apparatus 2 and does
       BRIEF DESCRIPTION OF THE DRAWINGS                                 not move or scan in use.
                                                                            The reflection of the radio signals 6 off a moving hand 8
  For a better understanding of various examples of embodi          65   imparts a modulation to the radio signals. A characteristic or
ments of the present invention reference will now be made by             characteristics of the transmitted radio signals vary in time as
way of example only to the accompanying drawings in which:               the gesture varies in time.
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   The gesture detector 12 is configured to detect a predeter            display down (or right). As the user input commands are the
mined time-varying modulation that is present in the received            opposite of each other, it may be preferable if the gestures that
radio signals 6' compared to the transmitted radio signals 6.            effect those commands were also in an opposite sense to each
There may be a number of time-varying modulations appar                  other.
ent in the received signal and at least Some will be as a result            It is stated above that the reflection of the radio signals 6 off
of external interference. The gesture detector 12 is configured          a moving hand 8 imparts a modulation to the radio signals—a
to discriminate between the generality of time-varying modu              characteristic or characteristics of the transmitted radio sig
lations to identify the predetermined time-varying modula                nals that varies in time as the gesture varies in time. This is
tions that correspond to predetermined gestures. The gesture             illustrated now by way of example:
detector may, for example, determine from the time varying          10      In a first example, if the hand 8 is moving towards the radio
characteristic or characteristics of the transmitted radio signal        receiver 10 the Doppler effect will result in an upwards fre
one or more time variable parameters that parameterize the               quency shift for the radio signals 6' (compared to the radio
gesture that caused the time-varying modulation. The param               signals 6) that is proportional to the velocity of the hand
eters may include, for example, kinematic parameters of the              towards the radio receiver 10 and if the hand 8 is moving away
gesture Such as distance, speed, direction etc                      15   from the radio receiver 10 the Doppler effect will result in a
   The controller 14 is configured to interpret the predeter             downwards frequency shift for the radio signals 6' that is
mined time-varying modulation as a predetermined user                    proportional to the velocity of the hand away from the radio
input command and change the operation of the apparatus 2.               receiver 10.
The operation of the apparatus 2 is therefore changed without               The gesture detector 12 comprises a Doppler radar detector
the user touching the apparatus as a result of the gesture.              configured to determine a frequency difference between the
   The controller 14 may associate in a look-up table prede              carrier frequency of received radio signals 6' and the carrier
termined time-varying modulations with predetermined user                frequency of transmitted radio signals 6. The Doppler radar
input commands. When the controller receives a predeter                  does not have to be on continuously and may be pulsed to save
mined time varying command resulting from a predetermined                power. The gesture detector 12 determines from the time
gesture it uses the look-up table to determine the appropriate      25   varying characteristic (frequency) of the transmitted radio
user input command in response to the gesture. The param                 signal one or more time variable parameters (speed, direc
eterization of the predetermined time-variable modulations               tion) that parameterize the gesture that caused the time-vary
enables the identification of multiple different gestures.               ing modulation.
   The associations between predetermined time-varying                      In another example, which may be used in combination
modulations and predetermined user input commands could             30   with the first example, if the transmission signals are modu
be stored while manufacturing the apparatus 2 or transferred             lated at transmission so that they have a periodic time signa
to the apparatus 2 using a storage media. In some embodi                 ture, the Doppler effect also causes a frequency shift in the
ments, it may also be possible to allow user programming of              periodic time signature. The time signature may, for example,
gestures and the response to those gestures. For example, the            be a periodic variation in amplitude (pulsed Doppler or pulsed
apparatus 2 may have a learning mode in which a user teaches        35   Ultra wideband) or a periodic variation in frequency (Fre
various gestures to the apparatus 2 and then program the                 quency Modulated Continuous wave). If the hand 8 is moving
apparatus 2 to create associations between predetermined                 towards the radio receiver 10 the period between signatures
time-varying modulations for those gestures and user-defined             decreases and if the hand 8 is moving away from the receiver
user input commands.                                                     the period between signatures increases.
  A lexicon can be formed where the individual discrete             40      The gesture detector 12 comprises circuitry configured to
gestures are words and a grammar may be specified that                   measure the period between signatures. The gesture detector
defines the meaningful combinations of words (sentences).                12 may determine from the time varying characteristic (pe
Each word and each sentence can produce a different user                 riod) of the transmitted radio signal one or more time variable
input command, if required.                                              parameters (speed, direction) that parameterize the gesture
   One user input command may change an application mode            45   that caused the time-varying modulation.
or function. Thus a particular gesture may reject an incoming               The gesture detector 12 may additionally comprise cir
telephone call and another gesture may answer the call. The              cuitry configured to measure the interval between the trans
user may be able to control the apparatus 2 directly without             mission of a signature and its reception. The gesture detector
the need for a graphical user interface or a display at the              12 determines from the time varying characteristic (interval)
apparatus 2.                                                        50   of the transmitted radio signal one or more time variable
   Another user input command may control a user interface               parameters (distance) that parameterize the gesture that
of the apparatus 2 and in particular user output devices such as         caused the time-varying modulation. This may conveniently
a loudspeaker or a display, for example. The user interface              be used as a gate’ i.e. to accept as valid only gestures (and
may, for example, be controlled to change how content is                 their time varying frequency shift) that are within a certain
presented to a user.                                                55   range from the apparatus 2.
   For example, a gesture may increase audio output Volume                  In another example, which may be used in combination
and another gesture may decrease audio output Volume. As                 with the first example, if the transmission signals are trans
the user input commands are the opposite of each other, it may           mitted with a known power, the power of the received
be preferable if the gestures that effect those commands were            reflected signals may give an indication of the range or dis
also in an opposite sense to each other.                            60   tance of the gesture, or the size of the reflecting object. The
   For example, a gesture may Zoom-in on information dis                 gesture detector 12 comprises circuitry configured to measure
played on a display and another gesture may Zoom-out. As the             the power difference between transmission and reception.
user input commands are the opposite of each other, it may be            The controller 14 may determine whether a gesture is valid
preferable if the gestures that effect those commands were               based on the received power. For example, the controller 14
also in an opposite sense to each other.                            65   may convert the power difference to a distance, or to the size
   For example, a gesture may scroll information in a display            of the reflecting object generating the gesture. The distance or
up (or left) and another gesture may scroll information in a             size is not typically used by itself as a parameter but it may be
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used to determine when other parameters such as speed and              gram code 24 configured to, with the at least one processor
direction are valid. For example, there may be a valid range of        provide the gesture detector 12.
distances (i.e. greater than a minimum distance but less than            Thus the apparatus 2 may comprise at least one processor
a maximum distance) for valid gestures or for the initiation           20 and at least one memory 22 including computer program
and/or termination of a valid gesture.                                 code 26, the at least one memory 22 and the computer pro
   WO 01/16554 “SSB pulse Doppler sensor and active                    gram code 26 configured to, with the at least one processor
reflector system' discloses how rotation can be detected using         provide the controller 14.
I/Q demodulated Doppler radars. Rotation could therefore                 The gesture detector 12 and the controller 14 may be pro
additionally be used as a parameter for defining a gesture.            vided by the same software application or by different soft
   FIG. 2 illustrates a suitable platform for providing the       10   ware applications 24, 26 concurrently running on the same
gesture detector 12 and the controller 14 using Software.              processor or processors.
   The gesture detector 12 and/or the controller 14 may be                FIG. 3 schematically illustrates a gesture recognition
implemented using instructions that enable hardware func               engine 30 for a gesture controlled user interface. The engine
tionality, for example, by using executable computer program           30 comprises: an input interface 36 for connection to a radio
instructions in a general-purpose or special-purpose proces       15   receiver 10 for receiving radio signals; a gesture detector 12
Sor that may be stored on a computer readable storage                  configured to detect a predetermined time-varying modula
medium (disk, memory etc) to be executed by Such a proces              tion that is present in the received radio signals compared to
SO.                                                                    reference radio signals; and an output interface 38 for provid
   A processor 20 is configured to read from and write to the          ing the detected predetermined time-varying modulation as
memory 22. The processor 20 may also comprise an output                an output. It operates in the same manner as the gesture
interface via which data and/or commands are output by the             detector 12 described with reference to FIG. 1.
processor 20 and an input interface via which data and/or                 The time-varying modulation that is present in the received
commands are input to the processor 20.                                radio signals 6' compared to the reference (transmitted) radio
   The memory 22 stores a computer program 24 comprising               signals 6 is characterized by the radar detector 34. If Doppler
computer program instructions that control the operation of       25   radar is used, the characterization may be a frequency shift
the gesture detector 12 and possibly the apparatus 2 when              between the received signals and the transmitted signals.
loaded into the processor 20 and/or stores a computer pro                 The parameterization block 32 may determine from the
gram 26 comprising computer program instructions that con              time varying characteristic or characteristics one or more time
trol the operation of the controller 14 and possibly the appa          variable parameters that parameterize the gesture that caused
ratus 2 when loaded into the processor 20.                        30   the time-varying modulation. The parameters may be, for
   The computer program instructions provide the logic and             example, kinematic parameters of the gesture Such as dis
routines that enables the apparatus to perform the methods             tance, speed, direction etc
illustrated in FIG. 6. The processor 20 by reading the memory             The engine 30 may be integrated on a chip set and/or a
22 is able to load and execute the computer program 24, 26.            module. FIG. 4 schematically illustrates an exterior of an
   The computer program(s) may arrive at the apparatus 2 via      35   apparatus 2. The apparatus 2 in this embodiment is a portable
any suitable delivery mechanism 28. The delivery mechanism             apparatus that has a front face 46 comprising a user interface.
28 may be, for example, a computer-readable storage                    The user interface comprises an audio output port 42 and a
medium, a computer program product, a memory device, a                 display 44. The apparatus 2 as illustrated in FIG. 1 comprises
record medium such as a CD-ROM or DVD, an article of                   a radio transmitter 4 and a radio receiver 10. However, as
manufacture that tangibly embodies the computer program.          40   these are generally housed within the exterior of the apparatus
The delivery mechanism may be a signal configured to reli              2 and are not visible at the exterior they are illustrated using
ably transfer the computer program over the air or via an              dotted lines. In this example, the radio transmitter 4 is con
electrical connection. The apparatus 2 may propagate or                figured to produce a directed transmission in which the radio
transmit the computer program as a computer data signal.               signals predominantly travel outwardly away from and nor
   Although the memory 22 is illustrated as a single compo        45   mally to the front face 46 of the apparatus 2. The reflected
nent it may be implemented as one or more separate compo               radio signals 6' travel inwardly towards the front face 46.
nents some or all of which may be integrated/removable                    In this and other embodiments, the controller 14 (not illus
and/or may provide permanent/semi-permanent/dynamic/                   trated in FIG. 4) may be configured to maintain a correspon
cached storage.                                                        dence between the time varying nature of the input command
   References to computer-readable storage medium', 'com          50   and the time varying nature of modulation.
puter program product, tangibly embodied computer pro                     The controller 14 may be configured to provide a slowly
gram etc. or a controller, computer, processor etc.                    varying and apparently analogue control when the gesture
should be understood to encompass not only computers hav               detector 12 detects a slowly moving continuous gesture. For
ing different architectures such as single/multi-processor             example, if a hand gesture involved moving a hand slowly
architectures and sequential (Von Neumann)/parallel archi         55   towards the front face 46, the apparently analogue control
tectures but also specialized circuits such as field-program           may involve slowly reducing the Volume of an audio output.
mable gate arrays (FPGA), application specific circuits                For example, ifa hand gesture involved moving a hand slowly
(ASIC), signal processing devices and other devices. Refer             away from the front face 46, the apparently analogue control
ences to computer program, instructions, code etc. should be           may involve slowly increasing the Volume of an audio output.
understood to encompass Software for a programmable pro           60   Similar control may alternatively be provided instead for
cessor or firmware such as, for example, the programmable              Zooming in and out or Scrolling, for example.
content of a hardware device whether instructions for a pro               The controller 14 may be configured to provide a binary
cessor, or configuration settings for a fixed-function device,         two-state control when the gesture detector 12 detects a fast
gate array or programmable logic device etc.                           moving gesture. For example, if a hand gesture involved
   Thus the apparatus 2 may comprise at least one processor       65   moving a hand quickly towards the front face 46, the binary
20 and at least one memory 22 including computer program               control may involve muting the Volume of an audio output.
code 24, the at least one memory 22 and the computer pro               For example, if a hand gesture involved moving a hand
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quickly away from the front face 46, the binary control may              5) Decrease volume, if
involve exiting a currently running application.                            a) the absolute mean value abs(mean(buffer)) exceeds a
   FIG. 5 schematically illustrates an alternative embodiment                  pre-defined threshold, and
of the apparatus 2 that uses reception diversity. There are a              b) the sign of mean(buffer) indicates “gesture towards',
plurality of radio receivers 10. Each of the radio receivers 10     5         and
receives the radio signals 6' reflected off the gesturing hand 8.           c) we are not playing music at minimum Volume yet
The gesture detector 12 is configured to detect separately, for          6) Go back to 2)
each of the plurality of receivers 10, a predetermined time                 The volume step by which the volume is changed may be
varying modulation that is present in the received radio sig             made speed dependent: the larger the speed, the larger the
nals compared to the transmitted radio signals. The controller      10   Volume step. This enables for example a change in the Volume
14 is configured to interpret the combination of predeter                from 100% to 0% (mute) either by slower motion of the
mined time-varying modulations associated with the respec                hand through the operation range of the radar, or a fast slam
tive radio receivers as a predetermined user input command               over a short time period.
and change the operation of the apparatus.                                  Currently this example method utilizes basic Doppler shift
   For example, the gesture detector 12 may parameterize
                                                                    15   information (velocity and direction of motion), but it does not
                                                                         take into account any distance information. However, when
each of the predetermined time-varying modulations into                  the distance or range information is available, steps 4 and 5
kinematic parameters such as distance, direction, speed etc.             can further be refined to accommodate desired gesture inputs
The controller 14 may use a knowledge of the relative posi               and reject undesired ones based on distance. In that case we
tions of the radio receivers 10 and the kinematic parameters             can set an additional condition for triggering the Volume
determined for each receiver to resolve the position and                 change based on distance. Alternatively the radar can be set
velocity of the hand in two or three dimensions. This may, for           already in step 2 to read inputs within certain distance range.
example, enable the disambiguation of a clockwise rotating                  As used here module’ refers to a unit or apparatus that
gesture from an anti-clockwise rotating gesture. The algo                excludes certain parts/components that would be added by an
rithms for trilateration and angle-of-arrival are well docu         25   end manufacturer or a user.
mented in the available literature and may be used to position              The blocks illustrated in the FIG. 6 may represent steps in
the hand at each moment in time. In this way, quite complex              a method and/or sections of code in the computer program.
gestures that involve movement in three dimensions may be                The illustration of a particular order to the blocks does not
detected and used as user input commands.                                necessarily imply that there is a required or preferred order for
   In this multiple-receiver configuration, each radio receiver     30   the blocks and the order and arrangement of the block may be
10 can point at the same angle or at different angles/direc              varied. Furthermore, it may be possible for some steps to be
tions.
                                                                         omitted.
   FIG. 6 schematically illustrates a method 50 comprising:                Although embodiments of the present invention have been
at block 52, transmitting radio signals 6 that are at least              described in the preceding paragraphs with reference to vari
                                                                    35   ous examples, it should be appreciated that modifications to
partially reflected by a human hand or part thereof 8:                   the examples given can be made without departing from the
at block 54, receiving the transmitted radio signals 6' after            Scope of the invention as claimed.
having been at least partially reflected by a gesturing human              The controller 14 may be configured to determine when a
hand 8:                                                                  gesture detected by the gesture detector 12 is valid or even
at block 56, detecting a predetermined time-varying modula          40   when the radar detection is turned on. An external event, Such
tion, characterizing the gesture, that is present in the received        as an alarm, alert or other event may enable the controller 14.
radio signals 6' compared to the transmitted radio signals 6;            The enabled controller then enables the radio transmitter,
and                                                                      radio receiver and gesture detector and is itself enabled to
at block 58, changing the operation of an apparatus 2 in                 interpret predetermined time-varying modulation detected by
dependence upon the predetermined time-varying modula               45   the gesture detector 12 as a predetermined user input com
tion.                                                                    mand and change the operation of the apparatus 2. Different
   The method may also comprise determining one or more                  gestures may produce different user input commands This
kinematic parameters that parameterize a gesture that causes             enablement, forgesture detection, may last while the external
the predetermined time-varying modulation, as described                  event is occurring or for a predetermined duration after the
above. The method may also comprise other features that             50 event StartS.
have been described previously with respect to operation of                For example, when there is an incoming telephone call, in
the apparatus 2.                                                         one embodiment the controller 14 turns the radar on and it is
   There follows an example an implementation example for                configured to interpret predetermined time-varying modula
the method utilizing Velocity information (speed and direc               tion detected by the gesture detector 12 as a predetermined
tion of movement) expressed in pseudocode:                          55   user input command and change the operation of the appara
1) Start playing music, and turn on radar                                tus 2. Different gestures may produce different user input
2) Gesture detector 12 reads radar input from radio receiver             commands which may, for example, answer the call, cancel
  10                                                                     the call or divert the call to, for example, voicemail. This
3) Controller 14 adds the radar velocity input to a data buffer,         enablement, forgesture detection, may last while the external
   and calculates mean value mean (buffer) of the inputs in         60   event is occurring or for a predetermined duration after the
   data buffer. Buffering is not mandatory but ensures a                 event StartS.
   Smoother operation.                                                     As another example, when there is an alarm alert, in one
4) Increase Volume, if                                                   embodiment the controller 14 turns the radar on and it is
   a) the absolute mean value abs(mean(buffer)) exceeds a                configured to interpret predetermined time-varying modula
      pre-defined threshold, and                                    65   tion detected by the gesture detector 12 as a predetermined
   b) the sign of mean(buffer) indicates “gesture away', and             user input command and change the operation of the appara
   c) we are not playing music at maximum Volume yet                     tus 2. Different gestures may produce different user input
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commands which may, for example, silence the alarm perma                 The apparatus 2 may be hand portable and the environment
nently or temporarily silence the alarm. This enablement, for            may be provided, at least in part, by a user's body.
gesture detection, may last while the external event is occur               Referring to FIG. 1, the radio transmitter 4 may, in some
ring or for a predetermined duration after the event starts.             embodiments, be configured to transmit at multiple different
  As another example, in a camera application when a user                center frequencies and multiple frequency bands. Different
activates a remote control mode, the controller 14 turns the             countries allow different frequencies to be used for radar
radar on and it is configured to interpret predetermined time            purposes. The apparatus 2 may be configured to operate at
varying modulation detected by the gesture detector 12 as a              multiple frequencies and, when incorporated with a mobile
predetermined user input command and change the operation                cellular telephone could determine and use suitable frequen
of the apparatus 2. A large scale gesture may produce a user        10   cies based on the country information the cellular telephone
input command which may, for example, take the picture after             receives from a cellular network.
a very short delay or when the absence of movement or                      Features described in the preceding description may be
gestures has been detected. Alternatively, the absence of                used in combinations other than the combinations explicitly
movement or gestures may produce a user input command                    described.
which may, for example, take the picture after a very short         15      Although functions have been described with reference to
delay. In a further embodiment, a large scale gesture may                certain features, those functions may be performable by other
produce a user input command which may, for example,                     features whether described or not.
cause the camera to produce an audible sound to attract atten               Although features have been described with reference to
tion, followed by a visual indicator to draw the subjects gaze,          certain embodiments, those features may also be present in
followed by taking the picture when the absence of movement              other embodiments whether described or not.
orgestures has been detected.                                              Whilst endeavoring in the foregoing specification to draw
   In other embodiments, a non-touching gesture may be                   attention to those features of the invention believed to be of
combined with pressing one or more additional user input                 particular importance it should be understood that the Appli
commands that primes the apparatus to detect the gesture.                cant claims protection in respect of any patentable feature or
The additional user input command may be, for example, an           25   combination of features hereinbefore referred to and/or
audio input command or a touch-based input command Such                  shown in the drawings whether or not particular emphasis has
as actuating abutton. The additional user input command may              been placed thereon.
be carried out simultaneously with the gesture or the gesture              We claim:
may need to follow within a time window immediately fol                     1. An apparatus comprising:
lowing the additional user input command. The additional            30     at least one processor, and
user input command is a simple way offiltering out unwanted              at least one memory including computer program code,
gestures.                                                                where the at least one memory and the computer program
   For example, in a map application pressing a certain button           code are configured, with the at least one processor, to cause
while moving a hand towards the device could be interpreted              the apparatus to at least:
as Zoom in, whereas pressing the same button and moving the         35     detect that an application is being started on the apparatus;
hand away could be interpreted as Zoom out. Pressing a dif                 in response to the application being started on the appara
ferent button while moving a hand towards the device could                     tus, turn on a continuous wave doppler radar at the
scroll the screen up, whereas pressing the same button and                     apparatus and transmit radio signals that comprise the
moving the hand away from the device would cause scrolling                     continuous wave doppler radar, wherein the radio sig
the screen down. Pressing a third button with the same gesture      40         nals are at least partially reflected by a human body of a
would scroll screen left etc. The buttons could be part of a                   user of the apparatus;
touch screen or discrete buttons.                                          receive the transmitted radio signals after having been at
  Referring to FIG. 1, there could be an embodiment where                      least partially reflected by a gesture by the human body
there is a connection between the radio transmitter 4 and the                 of the user;
radio receiver 10. In addition, there could be feedback from        45      detect in the received radio signals a predetermined time
the controller 14 to the radio transmitter 4 and radio receiver                varying modulation caused by the gesture by the human
10 for adjusting their parameters such as transmit power,                      body of the user and that is present in a modulation of the
frequency, receiver sensitivity, etc.                                          received radio signals as compared to a modulation of
   Referring to FIG. 1, although a single radio transmitter 4 is               the transmitted radio signals, wherein detecting the pre
described. It should be appreciated that there may, in other        50         determined time-varying modulation of the received sig
embodiments, transmission diversity using multiple radio                       nal comprises detecting a doppler frequency shift in the
transmitters 4 or multiple antennas for a single radio trans                   continuous wave doppler radar of the radio signals trans
mitter 4. These sources of radio signals could be placed point                 mitted from the apparatus, wherein the doppler fre
ing at different directions, e.g. one for the front face and one               quency shift comprises a frequency modulated continu
for the back cover so that we can select the relevant directional   55         ous wave variation caused by the gesture by the human
Source of radio signals for different gesturing applications, or               body of the user;
even use them at the same time.                                             associate the detected predetermined time-varying modu
   Although in the preceding description, a human user ges                     lation with a predetermined user input command; and
ture has been detected as a user input command, in other                   based on the associated predetermined user input com
embodiments the gesture may be performed by a non-human             60         mand control at least one operation of the application on
Such as animals, robots or machines.                                           the apparatus.
   Although in the preceding description, a gesture has been                2. An apparatus as claimed in claim 1, wherein the appa
performed as an external gesture in which, for example, a                ratus is a hand portable apparatus.
human hand is actively moved relative to a stationary appa                  3. An apparatus as claimed in claim 1, wherein the at least
ratus 2, it should be understood that a gesture may also be an      65   one memory including the computer program code is config
 integrated gesture in which the apparatus 2 is actively                 ured with the at least one processor to cause the apparatus to
moved relative to an environment that is detectable by radar.            determine from the predetermined time-varying modulation
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of the received radio signal one or more kinematic parameters             12. An apparatus as claimed in claim 1, wherein the con
that parameterize the gesture by the human body that caused            trolling the at least one operation of the application comprises
the predetermined time-varying modulation including at least           the at least one memory including the computer program code
a speed or Velocity parameter.                                         is configured with the at least one processor to cause the
   4. An apparatus as claimed in claim 3, wherein the at least         apparatus to change any one or more of display Zoom-in,
one memory including the computer program code is config               display Zoom-out, display Scroll-up, display scroll-down, dis
ured with the at least one processor to cause the apparatus to         play Scroll-right, display Scroll-left, a telephone call state, a
detect the one of more kinematic parameters to resolve at least        camera capture state, an audio output muting, and an appli
one of a position and a Velocity of the gesture in two or three        cation run status.
dimensions.                                                       10      13. An apparatus as claimed in claim 1, wherein the appa
  5. An apparatus as claimed in claim 4, wherein the at least          ratus has a front face and wherein the at least one memory
one memory including the computer program code is config               including the computer program code is configured with the
ured with the at least one processor to cause the apparatus to         at least one processor to cause the apparatus to:
provide slowly varying analogue control when a slowly mov                 transmit the radio signals at least Substantially normally to
ing continuous gesture is detected.                               15        the front face, and
   6. An apparatus as claimed in claim 3, wherein a separate              receive the radio signals that are reflected towards the front
user actuation in addition to the gesture is required to enable              face, wherein the gesture by the human body of the user
the controlling the at least one operation of the apparatus in               is required to be moving towards the front face of the
response to the gesture.                                                     apparatus to cause the doppler radar frequency modu
  7. An apparatus as claimed in claim 4, wherein the at least                lated continuous wave variation to change the at least
one memory including the computer program code is config                     one operation of the application on the apparatus.
ured with the at least one processor to cause the apparatus to            14. An apparatus as claimed in claim 1, wherein the appa
provide binary two-state control when a fast moving gesture            ratus comprises a plurality of radio receivers and wherein the
is detected.                                                           at least one memory including the computer program code is
  8. An apparatus as claimed in claim 1, wherein when the         25   configured with the at least one processor to cause the appa
time-varying modulation of the received signal comprises the           ratuS to:
doppler frequency shift, the predetermined time-varying                   detect, for each of the plurality of receivers, the predeter
modulation is characterized by a doppler frequency shift                     mined time-varying modulation that is present in a
between the received signals and the transmitted signals.                    modulation of the received radio signals compared to the
  9. An apparatus as claimed in claim 1, wherein the at least     30         modulation of the transmitted radio signals, and
one memory including the computer program code is config                  interpret a combination of predetermined time-varying
ured with the at least one processor to cause the apparatus to               modulations associated with the respective radio receiv
maintain in a memory of the apparatus a correspondence                       ers as the predetermined user input command and con
between a time varying nature of the predetermined user input                trol the at least one operation of the apparatus.
command and a time varying nature of the predetermined            35      15. An apparatus as claimed in claim 1, wherein the at least
time-varying modulation, and to use the maintained corre               one memory including the computer program code is config
spondence in the memory to associate the detected predeter             ured with the at least one processor to cause the apparatus to
mined time-varying modulation caused by the gesture by the             operate with transmission diversity.
human body of the user with the predetermined user input                  16. An apparatus as claimed in claim 1, wherein the appa
command.                                                          40   ratus is user programmable to predetermine time-varying
   10. An apparatus as claimed in claim 1, wherein the appli           modulations for detection in the received radio signals.
cation is a music player application, wherein the controlling             17. An apparatus comprising:
the at least one operation of the application comprises con               a controller configured to detect that an application is being
trolling at least a Volume of the music player application.                  started on the apparatus,
   11. An apparatus as claimed in claim 10, wherein the at        45      and in response to the application being started on the
least one memory including the computer program code is                      apparatus turn on a continuous wave doppler radar at the
configured with the at least one processor to cause the appa                apparatus;
ratus:                                                                   a radio receiver configured to receive radio signals that
  for a case the predetermined time-varying modulation is                   comprise the continuous wave doppler radar after hav
    caused by the gesture moving towards a face of the            50        ing been at least partially reflected by a gesture by a
    apparatus at a Velocity that does not exceed a pre-defined              human body of a user of the apparatus;
    threshold, to reduce the volume of the music player                  a gesture detector configured to detect in the received radio
    application,                                                            signals a predetermined time-varying modulation
  for a case the predetermined time-varying modulation is                   caused by the gesture by the human body of the user and
    caused by the gesture moving away from a face of the          55        that is present in a modulation of the received radio
    apparatus at a Velocity that does not exceed a pre-defined              signals as compared to a modulation of the radio signals
    threshold, to increase the volume of the music player                   before the reflection, wherein detecting the predeter
    application,                                                            mined time-varying modulation of the received signal
  for a case the predetermined time-varying modulation is                   comprises detecting a doppler frequency shift in the
    caused by the gesture moving towards a face of the            60        transmitted continuous wave doppler radar from the
    apparatus at a Velocity that exceeds a pre-defined thresh               apparatus, wherein the doppler frequency shift com
    old, to mute the Volume of the music player application,                prises a frequency modulated continuous wave variation
     and                                                                    caused by the gesture by human body of the user;
  for a case the predetermined time-varying modulation is                an interface for providing the detected predetermined time
    caused by the gesture moving away from a face of the          65        varying modulation as an output; and
    apparatus at a Velocity that exceeds a pre-defined thresh            the controller configured to associate the detected prede
    old, to exit the music player application.                              termined time-varying modulation with a predetermined
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     user input command, and based on the associated pre                  controlling, by the apparatus, an operation of the applica
     determined user input command control at least one                      tion on the apparatus in dependence upon the predeter
     operation of the application on the apparatus.                          mined time-varying modulation.
   18. The apparatus as claimed in claim 17, wherein the                  20. A method as claimed in claim 19 further comprising:
gesture detector is configured to determine, with respect to      5    determining one or more kinematic parameters that param
the gesture by the human body that provides the received               eterize a gesture that causes the predetermined time-varying
                                                                       modulation including at least a speed or Velocity parameter.
radio signals, one or more kinematic parameters that param                21. The method as claimed in claim 19, wherein the appli
eterize the gesture by the human body that caused the time             cation is a music player application, wherein the controlling
varying modulation including at least a speed or Velocity         10
                                                                       the at least one operation of the application comprises con
parameter.                                                             trolling at least a Volume of the music player application.
  19. A method comprising:                                                22. The method as claimed in claim 21, comprising:
  detecting, by an apparatus, that an application is being                for a case the predetermined time-varying modulation is
     started on the apparatus, and in response to the applica                caused by the gesture moving towards a face of the
     tion being started on the apparatus turning on a continu     15
                                                                             apparatus at a Velocity that does not exceed a pre-defined
     ous wave doppler radar at the apparatus;                                threshold, reducing the Volume of the music player
  transmitting, by the apparatus, radio signals that comprise                application, and
     the continuous wave doppler radar, wherein the radio                 for a case the predetermined time-varying modulation is
     signals are at least partially reflected by a human hand;               caused by the gesture moving away from a face of the
  receiving, by the apparatus, the transmitted radio signals                 apparatus at a Velocity that does not exceed a pre-defined
     after having been at least partially reflected by a gestur              threshold, increasing the Volume of the music player
     ing human hand;                                                         application.
  detecting, by the apparatus, a predetermined time-varying               23. The method as claimed in claim 21, comprising:
     modulation, characterizing the gesture, that is present in           for a case the predetermined time-varying modulation is
     a modulation of the received radio signals compared to a     25
                                                                             caused by the gesture moving towards a face of the
     modulation of the transmitted radio signals, wherein                    apparatus at a Velocity that exceeds a pre-defined thresh
     detecting the predetermined time-varying modulation of                  old, muting the Volume of the music player application,
     the received signal comprises detecting a doppler fre                  and
     quency shift in the transmitted radio signals based on the          for a case the predetermined time-varying modulation is
     continuous wave doppler radar, wherein the doppler fre       30
                                                                           caused by the gesture moving away from a face of the
     quency shift comprises a frequency modulated continu                  apparatus at a Velocity that exceeds a pre-defined thresh
     ous wave variation caused by the gesturing human hand;                old, exiting the music player application.
     and                                                                                      k   k   k   k   k
